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     JOSEPH A. WELCH, ESQ. STATE BAR NO. 119312
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 5   Attorney for Defendant, TATYANA SHVETS

 6
 7                          IN THE UNITED STATES DISTRICT COURT

 8                             EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                       )    Case No.: 2:12-cr-00322 GEB
10                                                   )
11                         Plaintiff,                )    STIPULATION AND [PROPOSED]
                                                     )    ORDER CONTINUING JUDGMENT &
12                  vs.                              )    SENTENCING DATE
                                                     )
13   TATYANA SHVETS,                                 )    DATE: NOVEMBER 30, 2018
14                                                   )    TIME: 9:00 A.M.
                           Defendant.                )    JUDGE: GARLAND E. BURRELL, JR.
15                                                   )
16
17          Defendant, TATYANA SHVETS, by and through her attorney, Joseph A. Welch, and
18   Plaintiff, United States of America, by and through its counsel, Assistant United States Attorney,
19   Heiko Coppola, hereby stipulate as follows:
20                                           STIPULATION
21          Plaintiff United States of America, by and through its counsel of record, and defendant
22   Tatyana Shvets, by and through her counsel of record, hereby stipulate that the judgment and
23   sentencing in the matter presently set for February 23, 2018, at 9:00 a.m. may be continued to
24
     November 30, 2018, at 9:00 a.m. for judgment and sentencing.
25
            The parties have stipulated that the current date for the imposition of judgment and
26
     sentencing may be continued to November 30, 2018, at 9:00 a.m.
27
            Proposed Presentence Report                                 Filed
28


     STIPULATION AND [PROPOSED] ORDER CONTINUING JUDGMENT AND SENTENCING DATE
                                                    -1-
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 1         Counsel’s written objections to the Presentence Report     October 26, 2018
 2         Presentence Report shall be filed with the Court           November 2, 2018
 3         Motion for Correction of the Presentence Report            November 9, 2018
 4         Reply, or Statement of Non-Opposition                      November 16, 2018
 5
           Judgment and Sentencing Date                               November 30, 2018
 6
     IT IS SO STIPULATED.
 7
     DATED: February 14, 2018                   /s/ Heiko Coppola                  __
 8                                              HEIKO COPPOLA
 9                                              Assistant United States Attorney

10
     DATED: February 14, 2018                   /s/ Joseph A. Welch________________
11                                              JOSEPH A. WELCH
12                                              Attorney for Defendant, SARKIS VARPETYAN

13
14   IT IS SO ORDERED.
15
     Dated: February 15, 2018
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     STIPULATION AND [PROPOSED] ORDER CONTINUING JUDGMENT AND SENTENCING DATE
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